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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                              Case Number 08-20520
 v.                                                           Honorable David M. Lawson

 ROBERT EVANS,

             Defendant.
 ______________________________________ /

             ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

        On March 11, 2009, defendant Robert Evans pleaded guilty to conspiracy to distribute and

 to possess with intent to distribute cocaine, conspiracy to distribute and to possess with intent to

 distribute cocaine base, and conspiracy to unlawfully use a communications facility to commit a

 drug trafficking offense. The conspiracy to distribute counts carried a statutory minimum sentence

 of ten years. However, on September 9, 2009, the Court sentenced Mr. Evans to 70 months

 imprisonment on the drug counts and 48 months imprisonment on the use of a communications

 facility conviction, with the sentences to be served concurrently. The Court imposed a sentence

 below the statutory minimum based on Mr. Evans’s substantial assistance. See 18 U.S.C. § 3553(e).

 The Court also sentenced Mr. Evans to 60 months supervised release on the drug counts and 36

 months supervised release on the use of a communications facility conviction, with the terms to be

 served concurrently.

        Now before the Court is Mr. Evans’s motion to reduce his sentence under 18 U.S.C. §

 3582(c). The defendant argues that he is entitled to have his sentence reduced because the United

 States Sentencing Commission, following the enactment of the Fair Sentencing Act of 2010, issued
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 new and more lenient sentencing guidelines applicable to offenses involving crack cocaine. Those

 guidelines were made retroactive by the Sentencing Commission as of November 1, 2011.

        Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

 only under certain conditions:

        [I]n the case of a defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
        Director of the Bureau of Prisons, or on its own motion, the court may reduce the
        term of imprisonment, after considering the factors set forth in section 3553(a) to the
        extent that they are applicable, if such a reduction is consistent with applicable
        policy statements issued by the Sentencing Commission.

 (emphasis added). Mr. Evans alleges that because the Sentencing Commission has reduced the

 crack cocaine guidelines and made them retroactive, and his crime involved the distribution of crack

 cocaine, he is entitled to a sentence reduction.

        The United State Court of Appeals for the Sixth Circuit has held that a defendant who is

 subject to a statutory minimum sentence but whose sentence departs from the statutory minimum

 based on his substantial assistance is not eligible for a reduction under section 3582(c)(2). United

 States v. Johnson, 564 F.3d 419, 423 (6th Cir. 2009). The court reasoned that the starting point for

 such a sentence is not U.S.S.G. § 2D1.1(c) — the drug quantity table modified in that case by

 Amendment 706 — but the mandatory minimum sentence itself.                  Therefore, the guideline

 amendment did not lower the guideline range upon which the defendant’s sentence was based. Ibid.

 The Sixth Circuit also has held that, even if the district court’s departure analysis began at the base

 offense level applicable under U.S.S.G. § 2D1.1, such a defendant is not entitled to a sentence

 reduction under section 3582(c)(2) because the reduction would be inconsistent with the Sentencing

 Commission’s policy statements. United States v. Hameed, 614 F.3d 259, 268-69 (6th Cir. 2010).


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        The Court believes that Mr. Evans’s motion is governed by the precedent set forth in

 Johnson and Hameed. Because Mr. Evans’s sentence was based on the statutory mandatory

 minimum and not a sentencing guideline range that was later lowered by the Sentencing

 Commission, he is not eligible for relief.

        Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence under

 18 U.S.C. § 3582(c) [dkt. #403] is DENIED.



                                                         s/David M. Lawson
                                                         DAVID M. LAWSON
                                                         United States District Judge

 Dated: February 8, 2012

                                                   PROOF OF SERVICE

                           The undersigned certifies that a copy of the foregoing order was served
                           upon each attorney or party of record herein by electronic means or first
                           class U.S. mail on February 8, 2012.

                                                             s/Deborah R. Tofil
                                                             DEBORAH R. TOFIL




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